Case 8:16-ap-01114-ES       Doc 33 Filed 11/01/16 Entered 11/01/16 18:03:05               Desc
                             Main Document    Page 1 of 5

  1   Robert P. Goe – State Bar No. 137019
      Charity J. Miller – State Bar No. 286481
  2   GOE & FORSYTHE, LLP
      18101 Von Karman Avenue, Suite 1200
  3   Irvine, CA 92612
      rgoe@goeforlaw.com
  4
      cmiller@ goeforlaw.com
  5
      Counsel for Defendant
  6

  7

  8
                                UNITED STATES BANKRUPTCY COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
                                          SANTA ANA DIVISION
 11
      In re                                            Case No.: 8:16-bk-10223-ES
 12

 13   KENT W. EASTER,                                  Chapter 7 Proceeding

 14                        Debtor                      Adv. Case No. 8:16-ap-01114-ES

 15   ___________________________________
                                                       DEFENDANT’S SUR-REPLY IN
 16                                                    FURTHER OPPOSITION TO
                                                       PLAINTIFF’S MOTION FOR SUMMARY
 17   KELLI C. PETERS, BILL PETERS, and                JUDGMENT
      SYDNIE PETERS,
 18
                                                       Hearing:
 19                         Plaintiffs,                Date:          November 10, 2016
                                                       Time:          10:30 a.m.
 20                        v.                          Ctrm:          5A

 21   KENT W. EASTER,

 22                       Defendant.
 23

 24           Defendant Kent W. Easter (“Debtor”) hereby respectfully submits this sur-reply (“Sur-

 25   Reply”) to address certain wholly inappropriate arguments contained in Plaintiffs’ Reply

 26   (“Reply”) in support of their Motion for Summary Judgment or, Alternatively, for Summary

 27   Adjudication ( “Motion”). Debtor’s counsel understands that the filing of a sur-reply is not


         DEFENDANT’S SUR-REPLY TO PLAINTIFFS’ REPLY ISO MOTION FOR SUMMARY JUDGMENT
Case 8:16-ap-01114-ES        Doc 33 Filed 11/01/16 Entered 11/01/16 18:03:05                  Desc
                              Main Document    Page 2 of 5

  1
      provided for under the Local Bankruptcy Rules. However, as discussed herein, an exception
  2
      should be made given the circumstances, including Plaintiffs’ raising arguments for the first time
  3   in their Reply and citing incorrect law.
  4

  5   I.      PLAINTIFFS’ ARE NOT ENTITLED TO SUMMARY JUDGMENT BASED UPON AN

  6           UNENFORCEABLE PRE-BANKRUPTCY STIPULATION TO

  7           NONDISCHARGEABILITY.

  8           For the first time in their Reply, Plaintiffs’ improperly advance a new basis for summary

      judgment – that this court is bound by a state court stipulation to nondischargeability. Nowhere
  9
      in their Motion did Plaintiffs argue that summary judgement should be granted because the
 10
      parties’ stipulated to nondischargeability in state court. Indeed, raising this argument for the first
 11
      time within a reply memorandum is impermissible under Local Bankruptcy Rule 9013-1(g)(4),
 12
      compounding the defects already in Plaintiffs’ notice of motion. “New arguments or matters
 13
      raised for the first time in reply documents will not be considered.” Id.
 14
              Moreover, Plaintiffs’ argument is also improper because it is flat wrong as a matter of
 15
      bankruptcy law, and Plaintiffs do not cite any authority to support their argument. In fact, a state
 16   court stipulation “where the debtor waives his right to discharge is unenforceable as against
 17   public policy.” Hayhoe v. Cole (In Re Cole), 226 B.R. 647, 653 (B.A.P. 9th Cir. 1998). This is
 18   because dischargeability is the “‘central issue in bankruptcy dischargeability litigation,’” and

 19   bankruptcy courts have exclusive jurisdiction to determine the dischargeability of a claim under

 20   § 523(a). Id., quoting Saler v. Saler (In re Saler), 205 B.R. 737, 744 (Bankr.E.D.Pa. 1997), aff'd,

 21   217 B.R. 166 (E.D.Pa.1998). Plaintiffs’ argue that the stipulation should be given more weight

 22   because Debtor is a former lawyer. However, Debtor was never a bankruptcy attorney and

      Plaintiffs’ counsel, who are currently practicing attorneys, also seemed unaware of the public
 23
      policy prohibition on enforcing state court stipulations to nondischargeability and cite no law
 24
      that carves out any exception from the rule that such stipulations are of no effect.
 25

 26
                                                       -2-

           DEFENDANT’S SUR-REPLY TO PLAINTIFFS’ REPLY ISO MOTION FOR SUMMARY JUDGMENT
Case 8:16-ap-01114-ES           Doc 33 Filed 11/01/16 Entered 11/01/16 18:03:05                          Desc
                                 Main Document    Page 3 of 5

  1
               Nor can the stipulation provide a basis for the application of collateral estoppel to
  2
      determine nondischargeability. As already discussed, the stipulation was entered into in the
  3   State Court Action, and the Civil Judgment1, is on appeal and is therefore not final for purposes
  4   of issue preclusion under California law. Opposition at 7-8; see infra II. Moreover, the issue of
  5   whether Easter had the subjective intent to cause harm to all of the Plaintiffs was not actually

  6   litigated in the State Court Action, and the stipulation provides no factual basis for a finding that

  7   he had such subjective intent towards all of the Plaintiffs. Carrillo v. Su (In re Su), 290 F.3d

  8   1140, 1144-45 (9th Cir. 2002). As even Plaintiffs’ counsel admitted in negotiating the

      stipulation, recklessness is sufficient to satisfy the elements of an intentional infliction of
  9
      emotional distress claim under CACI 1600. [Easter Dec. ¶6 and Ex. A.] And, as Debtor has
 10
      already established, Ninth Circuit law is clear that “recklessness” does not satisfy §523(a)(6)
 11
      because conduct that is reckless merely requires an intent to act. In re Plyam, 530 B.R. at 464
 12
      (9th Cir. B.A.P. 2015).
 13
               Thus, Plaintiffs’ argument in the Reply that this Court is bound by the state court
 14
      stipulation regarding nondischargeability is legally unfounded and should be disregarded
 15
      entirely, as it was untimely raised.
 16
      II.      PLAINTIFFS’ MISCONSTRUE NINTH CIRCUIT LAW BY WRONGLY
 17
               CONTENDING THAT AN APPEAL DOES NOT PREVENT COLLATERAL
 18
               ESTOPPEL.
 19
               Plaintiffs do not dispute that this Court must apply California law in determining the
 20
      issue preclusive effect, if any, of the Civil Judgment in the State Court Action. Harmon v.
 21   Kobrin (In re Harmon), 250 F.3d 1240, 1245 (9th Cir.2001). Plaintiffs also do not directly
 22   contest (because it is black-letter California law) that a judgment is not final pending appeal. Cal.
 23   Code Civ. Proc. § 1049; Wright v. Turner (In re Turner), 204 B.R. 988, 992 (9th Cir. BAP 1997).

 24   Plaintiffs wrongly contend, however, that Cobe v. Smith (In re Cobe), 229 B.R 15 (B.A.P. 9th

 25
      1
 26     Defined terms utilized herein have the same meaning as set forth in Debtor’s Opposition, unless defined
      differently herein.
                                                             -3-

            DEFENDANT’S SUR-REPLY TO PLAINTIFFS’ REPLY ISO MOTION FOR SUMMARY JUDGMENT
Case 8:16-ap-01114-ES        Doc 33 Filed 11/01/16 Entered 11/01/16 18:03:05                  Desc
                              Main Document    Page 4 of 5

  1
      Cir. 1998) stands for the proposition that an appeal from a California state court judgment “does
  2
      not provide a basis for refusing to apply collateral estoppel.” This is incorrect. In actuality, the
  3   Ninth Circuit Bankruptcy Appellate Panel has held that a judgment that is still subject to a
  4   motion for new trial or an appeal is not a final judgment for purposes of California’s collateral
  5   estoppel rules. Wright v. Turner (In re Turner), 204 B.R. 988, 992 (9th Cir. BAP 1997); see also

  6   In re Blanchard, 545 B.R. 18 (2016) (Bankr. C.D. 2016) (holding that a dismissal order was final

  7   under both California and federal law because it was not appealed).

  8          Plaintiffs’ quotation from Cobe is misleading at best. The issue before the Cobe court

      was not whether a state court judgment was final for purposes of collateral estoppel but rather
  9
      should collateral estoppel be applied when the debtors contended that the state court had lacked
 10
      jurisdiction to have entered judgment. 229 B.R at 18. The debtors had not appealed to the
 11
      Bankruptcy Appellate Panel on the basis that the judgment was not final. The actual quotation
 12
      for Cobe states: “The Cobes have had a fair opportunity to pursue this issue [of lack of
 13
      jurisdiction], which is based on an interpretation of state statutory law, in state court. The proper
 14
      avenue for appeal is the California Court of Appeals. This argument does not provide a basis for
 15
      refusing to apply collateral estoppel.” 229 B.R at 18. In short, the Cobe court was stating that if
 16   a debtor believes a state court judgment was wrong as matter of law, the proper avenue is to
 17   appeal, not to collaterally attack the judgment in bankruptcy court. As a result, the Cobe court
 18   denied the appeal on this basis.

 19   III.   CONCLUSION

 20          For all of the foregoing reason and for the reasons set forth in the Debtor’s Opposition,

 21   the Motion should be denied.

 22
      Dated: November 1, 2016                        Respectfully submitted,
 23
                                                     GOE & FORSYTHE, LLP
 24

 25                                                  /s/ Robert P. Goe
                                                     Robert P. Goe,
 26                                                  Attorneys for Kent W. Easter

                                                       -4-

         DEFENDANT’S SUR-REPLY TO PLAINTIFFS’ REPLY ISO MOTION FOR SUMMARY JUDGMENT
Case 8:16-ap-01114-ES          Doc 33 Filed 11/01/16 Entered 11/01/16 18:03:05                     Desc
                                Main Document    Page 5 of 5

  1
                               PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

      A true and correct copy of the foregoing document entitled (specify): DEFENDANT’S SUR-REPLY IN
  4   FURTHER OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT will be served or
      was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
  5   the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On (date) November 1, 2016, I checked the CM/ECF docket for this
      bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic
  8   Mail Notice List to receive NEF transmission at the email addresses stated below:

             Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
  9
             Weneta M Kosmala (TR) ecf.alert+Kosmala@titlexi.com,
              wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
 10          Robert H Marcereau , nlipowski@mncalaw.com
             United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 11
                                                        Service information continued on attached page
 12
      2. SERVED BY UNITED STATES MAIL: On (date) November 1, 2016, I served the following persons
 13   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
      true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
 14   and addressed as follows: Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 15
                                                        Service information continued on attached page
 16
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 17   EMAIL: (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
      LBR, on (date) November 1, 2016, I served the following persons and/or entities by personal delivery,
 18   overnight mail service, or (for those who consented in writing to such service method), by facsimile
      transmission and/or email as follows: Listing the judge here constitutes a declaration that personal
 19   delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
      filed.
 20
             The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 21                                                     Service information continued on attached page

 22   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
      correct.
 23
       November 1, 2016           Susan C. Stein                            /s/Susan C. Stein
 24    Date                     Printed Name                                Signature

 25

 26

 27                                                       -1-

         DEFENDANT’S SUR-REPLY TO PLAINTIFFS’ REPLY ISO MOTION FOR SUMMARY JUDGMENT
